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                                                9
                                                                              UNITED STATES DISTRICT COURT
                                               10
                                                                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                               11

                                               12
                                                  STEVE MORALES an individual; and S.M. )           Case No.: 3:21-cv-03957-EMC
                                                                                            )
                                               13 a minor, by and through their guardian ad )
                                                  litem, WENDY CHAU;                                THIRD AMENDED COMPLAINT FOR
155 Filbert St., Ste. 208, Oakland, CA 94607




                                                                                            )       DAMAGES
                                               14
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                                                                                            )
       POINTER & BUELNA, LLP




                                                                  Plaintiffs,                       (42 U.S.C § 1983)
                                                                                            )
            Tel: (510) 929 - 5400




                                               15                                           )
                                                  v.
                                                                                            )
                                               16                                           )
                                                  CITY AND COUNTY OF SAN                    )       JURY TRIAL DEMANDED
                                               17 FRANCISCO, a municipal corporation;       )
                                                  RUSSELL FONG, in his individual capacity )
                                               18 as a law enforcement officer for the CITY )
                                                  OF SAN FRANCISCO; RYAN LAU, in his )
                                               19 individual capacity as a law enforcement  )
                                                  officer for the CITY OF SAN               )
                                               20
                                                  FRANCISCO; and DOES 1-50, inclusive. )
                                                                                            )
                                               21                 Defendants.               )
                                               22

                                               23

                                               24

                                               25



                                                                              THIRD AMENDED COMPLAINT FOR DAMAGES
                                                                                      Morales, et al. v. CCSF, et al.
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                                                                                             JURISDICTION
                                                1
                                                               1. This action arises under Title 42 of the United States Code, Section
                                                2

                                                3 1983. Jurisdiction is conferred upon this Court by Title 28 of the United States Code, Sections

                                                4 1331 and 1343. The unlawful acts and practices alleged herein occurred in the City of San

                                                5 Francisco, in San Francisco County, California, which is within this judicial district.

                                                6                                                PARTIES
                                                7              2. Plaintiff Steve Morales (hereinafter “Mr. Morales”) is a competent adult, a
                                                8
                                                    resident of San Francisco, California, and a citizen of the United States. Plaintiff is the biological
                                                9
                                                    father of minor S.M.
                                               10
                                                               3. Plaintiff S.M. (hereinafter “S.M.”) is a minor and brings this suit by and thru
                                               11
                                                    guardian ad litem, WENDY CHAU. S.M. is the biological child of Plaintiff Chau and Plaintiff
                                               12
                                                    Morales.
                                               13
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                                                               4. Defendant CITY AND COUNTY OF SAN FRANCISCO (hereinafter “Defendant
                                               14
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                                               15
                                                    CCSF”) is a municipal public entity duly authorized and existing as such in and under the laws

                                               16 of the State of California; and at all times herein mentioned, Defendant CCSF has possessed the

                                               17 power and authority to adopt policies and prescribe rules, regulations and practices affecting the

                                               18 operation of the San Francisco Police Department and its tactics, methods, practices, customs,

                                               19 and usage. At all relevant times, Defendant CCSF was the employer of DOES 1-25, individually

                                               20 and as law enforcement officers.

                                               21
                                                               5. Defendant RUSSELL FONG was, and at all times herein, is a police officer for
                                               22
                                                    Defendant CCSF and is sued in his individual capacity.
                                               23
                                                               6. Defendant RYAN LAU was, and at all times herein, is a police officer for
                                               24
                                                    Defendant CCSF and is sued in his individual capacity.
                                               25



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                                                               7. Plaintiffs are ignorant of the true names and capacities of those Defendants named
                                                1
                                                    herein as DOES 1 through 25, inclusive. Plaintiffs will amend this Complaint to allege said
                                                2

                                                3 Defendants true names and capacities when that information becomes known to Plaintiffs.

                                                4 Plaintiffs are informed and believes, and thereon alleges that DOES 1 through 25, inclusive, are

                                                5 legally responsible and liable for the incident, injuries, and damages hereinafter set forth, and

                                                6 that each of said Defendants proximately caused the injuries and damages by reason of negligent,

                                                7 careless, deliberately indifferent, intentional, or willful misconduct, including the negligent,

                                                8
                                                    careless, deliberately indifferent, intentional, willful misconduct in creating and otherwise
                                                9
                                                    causing the incidents, conditions, and circumstances hereinafter set forth, or by reason of direct
                                               10
                                                    or imputed negligence or vicarious fault or breach of duty arising out of the matters herein
                                               11
                                                    alleged. Plaintiffs will seek to amend this Complaint to set forth said true names and identities of
                                               12
                                                    DOES 1 through 25, inclusive, when they have been ascertained.
                                               13
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                                                               8. Plaintiffs are ignorant of the true names and capacities of Defendants DOES 26
                                               14
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                                               15
                                                    through 50, inclusive, and therefore sue these defendants by such fictitious names. Plaintiffs are

                                               16 informed and believe and thereon allege that each Defendant so named was employed by

                                               17 Defendant CCSF at the time of the conduct alleged herein. Plaintiffs allege that each of

                                               18 Defendants DOES 26 through 50 were responsible for the training, supervision and/or conduct of

                                               19 the police deputies and/or agents involved in the conduct alleged herein. Plaintiffs allege that

                                               20 each of Defendants DOES 26 through 50 was also responsible for and caused the acts and

                                               21
                                                    injuries alleged herein. Plaintiffs will amend this Complaint to state the names and capacities of
                                               22
                                                    DOES 26 through 50, inclusive, when they have been ascertained.
                                               23
                                                               9. In doing the acts alleged herein, Defendants, and each of them, acted within the
                                               24
                                                    course and scope of their employment for the CITY AND COUNTY OF SAN FRANCISCO,
                                               25



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                                                               10. Due to the acts and/or omissions alleged herein, Defendants, and each of them,
                                                1
                                                    acted under color of authority and/or under color of law.
                                                2

                                                3              11. Due to the acts and/or omissions alleged herein, Defendants, and each of them, act

                                                4 as the agent, servant, and employee and/or concert with each of said other Defendants herein.

                                                5              12. Plaintiffs filed a timely government tort claim and the CITY AND COUNTY OF

                                                6 SAN FRANCISCO rejected the claim by operation of law.

                                                7                                     FACTUAL ALLEGATIONS
                                                8
                                                               13. On May 28, 2020, Wendy Chau was at the Hilton Hotel located at 750 Kearny
                                                9
                                                    Street in San Francisco California. Ms. Chau’s sister was visiting from out of town and staying at
                                               10
                                                    the Hotel. Ms. Chau and her sister arrived at the Hilton around 11:00 a.m. and checked-in. Ms.
                                               11
                                                    Chau and her sister left the hotel and returned in the evening with Ms. Chau’s infant, Plaintiff
                                               12
                                                    S.M. Neither Ms. Chau nor her sister had an issue entering the hotel nor had they been asked by
                                               13
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                                                    security or any hotel employee to verify their identification upon returning.
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                                               15
                                                               14. Later that evening, Plaintiff Steve Morales, went to the Hilton Hotel to meet with

                                               16 his fiancé, Plaintiff Wendy Chau, their child Plaintiff S.M., and Ms. Chau’s sister.

                                               17              15. Mr. Morales noticed that the hotel had a mask mandate and put on his mask to

                                               18 enter the hotel. As he was walking through the hotel, he noticed no one else was wearing a mask.

                                               19 Mr. Morales was unsure how to get to the hotel room and asked the hotel security guard for

                                               20 directions to the elevator. The security guard questioned Mr. Morales about being a registered

                                               21
                                                    guest and he explained he was not a registered guest but visiting a registered guest. The
                                               22
                                                    registered hotel guest, Ms. Chau’s sister, met Mr. Morales and they both went up the elevator
                                               23
                                                    and to the hotel room.
                                               24

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                                                               16. After visiting, Mr. Morales left with his infant to go to his car to wait for Ms.
                                                1
                                                    Chau and her sister, and had no further interactions with hotel staff. As he walked out the hotel
                                                2

                                                3 with his daughter in one arm and a bag in another, a friend in the lobby met him and they both

                                                4 proceeded to walk out to the car.

                                                5              17. Mr. Morales stepped out of the hotel onto the city sidewalk with his infant in his

                                                6 arms and proceeded to walk to his car with a friend. Suddenly, Defendants Russell Fong and

                                                7 Ryan Lau, who were both officers of the San Francisco Police Department, came from behind

                                                8
                                                    Mr. Morales and jerked one of his arms behind his back, nearly causing him to lose hold of his
                                                9
                                                    infant child and challenged to fight him. Unable to see whom the Defendant Officers were, Mr.
                                               10
                                                    Morales was concerned that he was being mugged and he pulled away for his and his child’s
                                               11
                                                    safety.
                                               12
                                                               18. The Defendant Officers grabbed and twisted Mr. Morales’ arm while he held his
                                               13
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                                                    baby in the other and told him he was being detained. They detained him across the street from
                                               14
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                                               15
                                                    the Hilton Hotel. Mr. Morales permitted the officers to twist one of his arms and held his baby in

                                               16 the other.

                                               17              19. Mr. Morales repeatedly asked Defendants Fong and Lau why they were detaining

                                               18 him. The Defendant Officers lied, saying that he was seen having an argument with his wife and

                                               19 asked who the baby was to him. Mr. Morales responded that she was his daughter. The

                                               20 Defendant Officers invented allegations against Mr. Morales, claiming a hotel employee told

                                               21
                                                    them that Mr. Morales was not allowed to take the baby despite the fact that neither officer had
                                               22
                                                    any reliable information or evidence to suggest that the Mr. Morales could not have his baby and
                                               23
                                                    neither officer prepared reports that indicated they were investigating a child custody issue
                                               24

                                               25



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                                                    and/or kidnapping. In fact, the officers did not prepare any written documents to justify or
                                                1
                                                    document their seizure and force.
                                                2

                                                3              20. On information and belief, Defendants Fong and Lau had no information or

                                                4 reasonable suspicion that Mr. Morales’ daughter was not his child.

                                                5              21. Nonetheless, Defendants Fong and Lau continued to tell Mr. Morales that they

                                                6 needed to determine whether Mr. Morales had the legal right to take his child. The Defendant

                                                7 Officers insisted that he prove his relationship to his daughter and consent to have her.

                                                8
                                                               22. Mr. Morales eventually acquiesced to the Defendant Officers’ unreasonable
                                                9
                                                    commands, instructing his friend to call his fiancé, the mother of his child. Defendant Lau stated
                                               10
                                                    that was what he had told him to do in the first place. Mr. Morales responded that Defendant Lau
                                               11
                                                    did not say that in fact, and had instead challenged Mr. Morales to hit him. In response,
                                               12
                                                    Defendant Lau again challenged Plaintiff to fight, bumping him with his chest and aggressively
                                               13
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                                                    saying, “Come on.”
                                               14
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                                               15
                                                               23. Defendant Fong interceded to calm down his more aggressive fellow defendant.

                                               16 Mr. Morales provided his name to the officers. The Defendant Officers continued to refuse to

                                               17 believe Mr. Morales, an African-American man, was the father of his baby who appeared Asian-

                                               18 American and aggressively got in his face while he held his child in his arms.

                                               19              24. After some time, Ms. Chau saw Mr. Morales and the situation occurring. Ms.
                                               20 Chau and Mr. Morales again attempted to explain to the Defendant Officers that Mr. Morales

                                               21
                                                    was indeed the biological father of the child and that Ms. Chau was the biological mother. The
                                               22
                                                    officers continued to act aggressively towards Mr. Morales and refused to believe him before
                                               23
                                                    finally permitting him and his family to leave.
                                               24
                                                    /
                                               25



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                                                                                                DAMAGES
                                                1
                                                               25. As a consequence of Defendants’ violations of Plaintiffs’ federal civil rights
                                                2

                                                3 under 42 U.S.C. §1983 and the Fourth Amendment, Plaintiffs were physically, mentally,

                                                4 emotionally, and financially injured and damaged as a proximate result of Defendants' wrongful

                                                5 conduct.

                                                6              26. Plaintiffs found it necessary to engage the services of private counsel to vindicate
                                                7 their rights under the law. Plaintiffs are therefore entitled to an award of attorneys’ fees and/or

                                                8
                                                    costs pursuant to statute(s) in the event that they are the prevailing parties in this action under 42
                                                9
                                                    U.S.C. §§ 1983 and 1988. Plaintiffs are also entitled to punitive damages under 42 U.S.C. §§
                                               10
                                                    1983 and 1988.
                                               11
                                                                                          CAUSES OF ACTION
                                               12
                                                                                FIRST CAUSE OF ACTION
                                               13         (Fourth Amendment – Unlawful Detention/Arrest under 42 U.S.C. Section 1983)
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                                                                  (PLAINTIFF MORALES against DEFENDANTS FONG and LAU)
                                               14
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                                                               27. Plaintiffs hereby re-allege and incorporate by reference each and every paragraph
                                               15

                                               16 of this Complaint.

                                               17              28. Defendants FONG and LAU stopped Mr. Morales and detained him without any

                                               18 reasonable suspicion and/or probable cause to detain Plaintiff and issued no lawful warnings

                                               19 and/or instructions.

                                               20              29. Defendants FONG and LAU invented an allegation that Mr. Morales did not have
                                               21
                                                    the right to take his daughter from the hotel without having any information upon which they
                                               22
                                                    could reasonably base such an allegation.
                                               23
                                                               30. Defendants FONG and LAU continued to detain Mr. Morales after explaining that
                                               24
                                                    he was not being charged for any crime.
                                               25



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                                                                 31. Furthermore, Mr. Morales had not committed any crimes. Therefore, Defendants’
                                                1
                                                    detention of Plaintiff was an unlawful seizure that violated both his training and Plaintiffs’
                                                2

                                                3 constitutional rights under the Fourth Amendment.

                                                4                32. As a result of their misconduct, Defendants are liable for Plaintiffs’ injuries and

                                                5 detention.

                                                6          WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
                                                7                               SECOND CAUSE OF ACTION
                                                                 (Fourth Amendment – Excessive Force under 42 U.S.C. Section 1983)
                                                8
                                                                    (PLAINTIFF MORALES against DEFENDANTS FONG and LAU)
                                                9
                                                                 33. Plaintiffs hereby re-allege and incorporate by reference each and every paragraph
                                               10
                                                    of this Complaint.
                                               11
                                                                 34. When Defendants FONG and LAU stopped Mr. Morales and detained him
                                               12
                                                    without any reasonable suspicion and/or probable cause to detain Mr. Morales and issued no
                                               13
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                                                    lawful warnings and/or instructions.
                                               14
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                                               15
                                                                 35. Defendants then placed hands and grabbed at Mr. Morales when they have

                                               16 absolutely no lawful basis to use any force at all.

                                               17                36. Furthermore, Mr. Morales had not committed any crimes. Therefore, Defendants

                                               18 FONG and LAU’s touching and use of any force, even control holds, was excessive force that

                                               19 violated both their training and Plaintiffs’ constitutional rights under the Fourth Amendment.

                                               20                37. As a result of their misconduct, Defendants are liable for Plaintiff’s injuries and
                                               21
                                                    detention.
                                               22
                                                           WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
                                               23
                                                                                THIRD CAUSE OF ACTION
                                               24               (Assault – Violation of CALIFORNIA PENAL CODE § 242)
                                                       (PLAINTIFF MORALES against DEFENDANTS CCSF, FONG, LAU, and DOES 1-50)
                                               25



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                                                               38. Plaintiff hereby re-alleges and incorporates by reference each and every
                                                1
                                                    paragraph of this Complaint.
                                                2

                                                3              39. Defendants FONG and LAU, while working as an employee for the Defendant

                                                4 CCSF, and acting within the course and scope of their duties, intentionally assaulted Mr. Morales

                                                5 without a lawful basis by threatening force, grabbing and then continually seizing, touching and

                                                6 pulling on Mr. Morales while he held Plaintiff S.M. in his arms.

                                                7              40. As a result of the actions of Defendants FONG and LAU, Mr. Morales suffered
                                                8
                                                    injury. The Defendant Officers did not have legal justification for using force against Mr.
                                                9
                                                    Morales, and Defendants’ use of force while carrying out his duties was an unreasonable use of
                                               10
                                                    force.
                                               11
                                                               41. Defendant CCSF is vicariously liable, pursuant to California Government Code §
                                               12
                                                    815.2, for the violation of rights by its employees and agents.
                                               13
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                                                               42. As a direct and proximate result of Defendants’ battery of Mr. Morales, he
                                               14
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                                               15
                                                    sustained injury and damages, and is entitled to relief as set forth above.

                                               16              WHEREFORE, Plaintiff prays for relief as hereinafter set forth.

                                               17                               FOURTH CAUSE OF ACTION
                                                                  (Battery – Violation of CALIFORNIA PENAL CODE § 242)
                                               18        (PLAINTIFF MORALES against DEFENDANT CCSF, FONG, LAU, and DOES 1-50)

                                               19
                                                               43. Plaintiff hereby re-alleges and incorporates by reference each and every
                                               20
                                                    paragraph of this Complaint.
                                               21

                                               22              44. Defendants FONG and LAU, while working as employees for the Defendant

                                               23 CCSF Police Department, and acting within the course and scope of their duties, intentionally

                                               24 assaulted Mr. Morales without a lawful basis by grabbing and then continually seizing, touching

                                               25 and pulling on Mr. Morales while he was holding Plaintiff S.M. in his arms.



                                                                                 THIRD AMENDED COMPLAINT FOR DAMAGES
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                                                               45. As a result of the actions of the Defendants, Plaintiff suffered injury. Defendant
                                                1
                                                    and Does did not have legal justification for using force against Plaintiff, and Defendants’ use of
                                                2

                                                3 force while carrying out his duties was an unreasonable use of force.

                                                4              46. Defendant CCSF is vicariously liable, pursuant to California Government Code §

                                                5 815.2, for the violation of rights by its employees and agents.

                                                6              47. As a direct and proximate result of Defendants’ battery of Plaintiff, Plaintiff
                                                7 sustained injury and damages, and is entitled to relief as set forth above.

                                                8
                                                                   WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
                                                9
                                                                            FIFTH CAUSE OF ACTION
                                               10                                   (Negligence)
                                                       (PLAINTIFF MORALES against DEFENDANTS CCSF, FONG, LAU, and DOES 1-50)
                                               11
                                                               48. Plaintiff hereby re-alleges and incorporate by reference each and every
                                               12
                                                    paragraph of this Complaint except any reference to intentional conduct.
                                               13
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                                                               49. At all times, Defendants CCSF, FONG, and LAU owed Mr. Morales the duty to
                                               14
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                                               15
                                                    act with due care in the execution and enforcement of any right, law, or legal obligation.

                                               16              50. At all times, Defendants CCSF, FONG, and LAU owed Mr. Morales the duty to

                                               17 act with reasonable care.

                                               18              51. These general duties of reasonable care and due care owed to Mr. Morales by

                                               19 Defendants include but are not limited to the following specific obligations:

                                               20                    a.    to refrain from using excessive and/or unreasonable force against Plaintiff;
                                               21
                                                                     b.    to refrain from unreasonably creating the situation where force, including
                                               22
                                                                     but not limited to excessive force, is used;
                                               23
                                                                     c.    to refrain from abusing their authority granted them by law;
                                               24

                                               25



                                                                                 THIRD AMENDED COMPLAINT FOR DAMAGES
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                                                                     d.     to refrain from violating Plaintiffs’ rights guaranteed by the United States
                                                1
                                                                     and California Constitutions, as set forth above, and as otherwise protected by
                                                2

                                                3                    law.

                                                4              52. Defendants, through their acts and omissions, breached each and every one of the

                                                5 aforementioned duties owed to Plaintiff.

                                                6              53. Defendants are vicariously liable for the wrongful acts and omissions of its
                                                7 employees and agents pursuant to Cal. Gov. Code section 815.2.

                                                8
                                                               54. As a direct and proximate result of Defendant's negligence, Plaintiff sustained
                                                9
                                                    injuries and damages, and against each and every Defendant is entitled to relief as set forth
                                               10
                                                    above.
                                               11
                                                               WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
                                               12
                                                                                 SIXTH CAUSE OF ACTION
                                               13                           (False Imprisonment/Illegal Detention)
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                                                               (PLAINTIFF MORALES against DEFENDANTS CCSF, FONG, and LAU)
                                               14
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                                               15
                                                               55. Plaintiff hereby re-alleges and incorporates by reference each and every paragraph

                                               16 of this Complaint.

                                               17              56. Defendants FONG and LAU detained and assaulted Mr. Morales without just

                                               18 cause and under false pretenses. The Defendant Officers restrained, detained, and/or confined

                                               19 Mr. Morales without his consent or a lawful basis for a significant period of time.

                                               20              57. As a result of the Defendants’ unlawful confinement, Mr. Morales suffered
                                               21
                                                    emotional distress and physical injury.
                                               22
                                                               58. Defendant CCSF is vicariously liable, pursuant to California Government Code
                                               23
                                                    § 815.2, for the violation of rights by its employees and agents.
                                               24
                                                               WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
                                               25



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                                                                                SEVENTH CAUSE OF ACTION
                                                1                          (Negligent Infliction of Emotional Distress)
                                                             (PLAINTIFF S.M. against DEFENDANT CCSF, FONG, LAU, and DOES 1-50)
                                                2

                                                3              59. Plaintiffs re-allege and incorporate by reference each and every paragraph of

                                                4 this Complaint.

                                                5              60. Plaintiff S.M. witnessed defendants’ above-described conduct and injuries to

                                                6 Plaintiff Morales. Defendants threatened, assaulted and accosted minor Plaintiffs’ biological

                                                7 father, Plaintiff Morales, while Plaintiff S.M. was in his arms, which the toddler saw and heard

                                                8
                                                    causing serious emotional distress. Indeed, Plaintiffs’ child watched Defendants FONG and
                                                9
                                                    LAU continually grab, pull, as well as, physically and verbally harass her father.
                                               10
                                                               61. In engaging in the above-described conduct, Defendants’ negligence was
                                               11
                                                    a substantial factor in causing Plaintiffs serious emotional distress.
                                               12
                                                               WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
                                               13
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                                               14                                              JURY DEMAND
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                                               15              62. Plaintiff hereby demands a jury trial in this action.

                                               16                                                PRAYER

                                               17
                                                       Wherefore, Plaintiffs pray for relief, as follows:
                                               18
                                                               1. For general damages in a sum according to proof;
                                               19

                                               20              2. For special damages in a sum according to proof;

                                               21              3. For punitive damages against DOES 1-50;

                                               22              4. All other damages, penalties, costs, interest, and attorney fees as allowed by 42

                                               23                  U.S.C. §§ 1983 and 1988, Cal. Civil Code §§ 52 et seq., 52.1, and as otherwise
                                               24                  may be allowed by California and/or federal law against Defendant CITY AND
                                               25
                                                                   COUNTY OF SAN FRANCISCO and its employees.


                                                                                 THIRD AMENDED COMPLAINT FOR DAMAGES
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                                                             5. For cost of suit herein incurred; and
                                                1
                                                             6. For such other and further relief as the Court deems just and proper.
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                                                3 Date: February 22, 2022                               Respectfully submitted,
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                                                                                               POINTER & BUELNA, LLP
                                                5
                                                                                               LAWYERS FOR THE PEOPLE
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                                                7                                              /s/ Patrick Buelna
                                                                                               PATRICK M. BUELNA
                                                8                                              COUNSEL FOR PLAINTIFF

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                                                                              THIRD AMENDED COMPLAINT FOR DAMAGES
                                                                                      Morales, et al. v. CCSF, et al.
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